Case 1:05-cr-10057-.]DT Document 7 Filed 07/29/05 Page 1 of 3 Page|D 5

uNlTED sTATEs olsTRlcT couRT ill
wEsTERN DisTRlcT oF TENNESSEE f 59 BY“-___/€_L__/` DC
EAsTERN DlvlsioN ' '

05 JUL g 9 _
UNITED STATES OF AMER|CA PH 3' 26

-v- 05-10057-0-1-T

 

CARESOUTH CL|N|C, P.C.
Wi||iam E. McDaniels
725 Twe|fth Street, N.W.
Washington, DC 20005

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |nformation on July 22, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Title & section N_atuLofM§M Concluded NumbeLl§l
18 U.S.C. § 1347 |V|edicare Fraud 08/18/1999 1
18 U.S.C. § |V|oney Laundering 05/24/1999 2

1956(3)(1)(A)(i)

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Date of |mposition of Sentence:
Ju|y 22, 2005

WZ).Qf/M

JA|VI D. TODD
CH| F UN|TED STATES D|STR|CT JUDGE

Thls document entered on the docket sheet ln con;pllance JU|y § 2 , 2005
with nule 55 and;or 32(!)) rnch on ___QUQ_;___._

Defendant’s |V|ai|ing Address:
1203 VANN DR|VE
JACKSON, TN 38305

Case 1:05-cr-10057-.]DT Document 7 Filed 07/29/05 Page 2 of 3 Page|D 6

Case No: 1:05cr10057 Defendant Name: CARESOUTH CL|N|C, P.C. Page 2 of 2

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3812(g).

Total Assessment Total Fine Total Restitution
$200.00 $500,000.00

The Special Assessment shall be due immediately

FlNE

A Fine in the amount of $ 500,000.00 is imposed.

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10057 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Lawrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

William E. McDaniels
WILLIAMS & CONNOLLY
725 12th Street7 N.W.
Washington, DC 20005

Honorable J ames Todd
US DISTRICT COURT

